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                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF PUERTO RICO


 IN RE:
 ANA T FIGUEROA ROMAN                  CASE NO.    19-03969 EAG

                                          CHAPTER 13
 Alejandro Oliveras-Rivera,
 Standing Chapter 13 Trustee
 for the estate of                        ADVERSARY NO. 21-00047
 ANA T FIGUEROA ROMAN
                                          AVOIDANCE OF FRAUDULENT
      PLAINTIFF                           TRANSFER UNDER SECTION 548

           Vs.

 Nomar Andre Torres Laboy
 Ana T. Figueroa Roman
 Co-defendant John Doe
 Co-defendant Jane Doe
 Co-defendant ABC Insurance
 Company
      DEFENDANTS



      MOTION TO SUPPLEMENT COMPLAINT WITH TRANSLATED DOCUMENTS

TO THE HONORABLE COURT:

      COMES NOW, Plaintiff, by and through the undersigned attorney

and very respectfully, ALLEGES, STATES and PRAYS as follows:

                               JURISDICTION AND VENUE

      1.    On   April   29,    2021   Plaintiff    filed   the      complaint

pertaining to the instant adversary. (Docket 1)

      2.    Within the allegations of the complaint, particularly at

paragraph    seventeen    (17),   Plaintiff-Trustee     alleged      that   the

debtor Ana T. Figueroa Roman had provided a copy of the sales deed
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number (1) dated January 16, 2018 subscribed before notary Reymerik

Aponte Lopez, as evidence of a sales transaction that occurred

between Debtor Ana T. Figueroa Roman and defendant Nomar A. Torres

Laboy.     The document was attached to the complaint in the Spanish

language as Exhibit 1. Plaintiff-Trustee had anticipated that an

English translation would be provided once obtained.

      3.     Moreover, at paragraph twenty two (22) Plaintiff-Trustee

alleged that Debtor Ana T. Figueroa Roman had provided Plaintiff-

Trustee with a title study that shows that the real property

transferred, appears at the Puerto Rico Property Registry in the

municipality of Caguas as “Plot 24314, recorded at page 115,volume

450 de Caguas, Caguas Registry, Section I”.              The document was

attached to the complaint in the Spanish language as Exhibit 3.

Plaintiff-Trustee     had   anticipated    that   an   English   translation

would be provided once obtained.

      4.     Furthermore,   at   paragraph    forty-seven    (47)    of    the

complaint,     Plaintiff-Trustee     had   requested     leave   from     this

Honorable Court to submit the aforementioned documents, namely the

“Sales Deed” and the “Title Study” in the Spanish language until

certified English translations be obtained, at which time, the

complaint would be supplemented.

      5.     Plaintiff-Trustee hereby informs that he has obtained

the corresponding certified translations in the English language
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made   reference   to   in   the   complaint   and   attaches   herein,   the

corresponding translation of the sales deed as Exhibit 1, as well

as the corresponding translation of the title study as Exhibit 2.



        WHEREFORE,    Plaintiff-Trustee     respectfully    requests      from

this Honorable Court to deem the complaint supplemented as it

pertains to Exhibit 1 (Sales Deed) and Exhibit 3 (Title Study) of

the complaint with documents made referenced to and attached herein

as Exhibit 1 (Sales Deed) in the English language and Exhibit 2

(Title Study) in the English language.


        RESPECTFULLY SUBMITTED, in San Juan, Puerto Rico, this 14th

day of July, 2021.


                                                 ALEJANDRO OLIVERAS RIVERA
                                                        CHAPTER 13 TRUSTEE
                                                          P.O. Box 9024062
                                                   San Juan, PR 00902-4062
                                               Tel. 977-3500 Fax 977-3521

                                       By: /s/Pedro R. Medina Hernandez
                                              Pedro R. Medina Hernandez
                                                         Staff Attorney
                                                      USDC-PR # 226614
                                                   pmedina@ch13sju.com
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      Exhibit 1 (Sales Deed) in the English
   language, supplementing Exhibit 1 (Sales
          Deed) from the Complaint.
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                   CERTIFIED TRANSLATION



I issue a First
                    --------------------------------------------------------------------------------------------------------------------
certified copy
in favor of
buyer, on the
                    ----My protocol of Public Instruments for the year two thousand eighteen (2018) begins today,
same day and
place it was
executed. I
                    January sixteen (16).-------------------------------------------------------------------------------------------
the Notary,
ATTEST.----
----------------

s/ not legible
initials not
                              Initials not legible                                seal
legible
                              Initials not legible                                REYMERIK APONTE LOPEZ
Seal
REYMERIK
                                                                                  Logo
APONTE                                                                            ATTORNEY NOTARY
LOPEZ
ATTORNEY
NOTARY                 -----------------------------------------DEED NUMBER ONE (1)------------------------------------------

Initials not        -----------------------------------------PURCHASE AND SALE--------------------------------------------
legible

Initials not        ---In Caguas, Puerto Rico on January sixteen (16) two thousand eighteen (2018).-------------------
legible

                       -------------------------------------------------BEFORE ME,-------------------------------------------------
Seal
REYMERIK            ---------------------------------------REYMERIK APONTE LÓPEZ,--------------------------------------
APONTE
LOPEZ
ATTORNEY            ---attorney and notary public for the Commonwealth of Puerto Rico, with residence and open
NOTARY

                    notarial office in Cayey, Puerto Rico.-----------------------------------------------------------------------

                   ---------------------------------------------------------------------------------------------------------------------

                   -

                   ---------------------------------------------------THERE APPEAR--------------------------------------------

                   ---AS PARTY OF THE FIRST PART: ANA TERESA FIGUEROA ROMÁN, of legal age,

                   single, property owner and a resident of Guaynabo, Puerto Rico, hereinafter known as: “The

                   Selling Party or Seller”-----------------------------------------------------------------------------------------

                   ---AS PARTY OF THE SECOND PART: NOMAR ANDRE TORRES LABOY, of legal age,

                   single, employee and a resident of Gurabo, Puerto Rico, hereinafter known as: “The Buying Party

                   or Buyer”.--------------------------------------------------------------------------------------------------------

                   ---I ATTEST personally knowing the party of the first part, by not knowing the party of the second

                   part he has been identified by way of a current passport issued by the United States of America,

                   number 508428399, and of the personal circumstances mentioned above, who assure me and in

                   my judgment they have the necessary legal capacity for the present execution, and in such virtue

                   they freely:-------------------------------------------------------------------------------------------------------

                   -------------------------------------------------------STATE----------------------------------------------------




                              I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
                              translation, to the best of my abilities, of the document in Spanish which I have seen.
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               ---FIRST: That the appearing party of the first part is owner in fee simple of the following
Initials not
legible
                property:---------------------------------------------------------------------------------------------------------
Initials not
legible
                ---“RUSTIC: Plot D: Real property located at Cañaboncito Ward of the municipal term of

                Caguas, made up of two acres and thirty thousandths of another, equivalent to seventy-nine areas
Seal
REYMERIK
APONTE
                eighty centiareas and eighteen milliareas, that is, seven thousand nine hundred eighty meters and
LOPEZ
ATTORNEY
NOTARY
                eighteen square centimeters. Bordering by the North, with lands of Francisco Ayala; by the South,

               with lot letter “C” plot of the principal plot that will be adjudicated to Francisco Ayala Resto; by

               the East, along whose borders runs the entire length of the eight-meter wide strip of land, dedicated

               as an easement established on the principal plot and that makes up part of this plot with Marcos

               Rojas´ lands; and by the West, with Genaro Báez´ lands.-------------------------------------------------

               ------------Pin number: 250-008-838-32-000.---------------------------------------------------------------

               ---------------------------------------------------------------------------------------------------------------------

               ---------------------------------------------------------------------------------------------------------------------

               ---------

               ---It appears recorded at Page 115, Volume 450 of Caguas, plot number 24,314 Caguas Registry

               of the Property, First Section.---------------------------------------------------------------------------------

               ---SECOND: Seller acquired the real property fee simple for fifty percent (50%) from a purchase

               made to Antonio Pagán Osorio, single, for the price of nineteen thousand dollars ($19,000.00; by

               virtue of deed number Six (6) executed in Caguas on January eleven (11) two thousand one (2001)

               before Notary Rafael A. Pacheco; recorded at mobile volume 1619 of Caguas, plot #24,314, 8th

               recording. The remaining fifty percent (50%) was acquired by a transfer made by Luis González

               Rodríguez, with a value of forty six thousand seven hundred forty dollars ($46,740.00); by virtue

               of a Judgment regarding Divorce dated September eight (8) two thousand fifteen (2015), Case

               Number EAC2014-0467, Court of First Instance, Caguas Part; recorded at Karibe System, plot

               #24,314 of Caguas, ninth (9th) recording.--------------------------------------------------------------------

               ---THIRD: Seller states that by its origin, it is free from encumbrances. It benefits from an

               easement as a dominant landholding on the principal plot from where it proceeds, as servient

               landholding.-----------------------------------------------------------------------------------------------------

               ---FOURTH: The appearing parties have agreed on the purchase and sale of the real property and

               they carry it out under the following:-------------------------------------------------------------------------




                           I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
                           translation, to the best of my abilities, of the document in Spanish which I have seen.
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               ---------------------------------------------------------------------------------------------------------------------

               -----------------------------------------CLAUSES AND CONDITIONS------------------------------------

               ---One [1]: Seller sells, assigns, and transfers the real property in favor of Buyer, with all of its

               rights, titles, interest, enclosures, easements, improvements and everything that constitutes and is

Initials not   inherent to it, so that Buyers own and enjoy it, as its sole and legitimate owner.----------------------
legible

Initials not   ---Two [2]: Seller hereby sells to Buyer the above-described property for the amount of FIFTEEN
legible

               THOUSAND DOLLARS ($15,000.00).--------------------------------------------------------------------
Seal
REYMERIK       ---Three [3]:      Seller recognizes having received the amount of FIFTEEN THOUSAND
APONTE
LOPEZ
ATTORNE        DOLLARS ($15,000.00) from Buyer in this act, for which reason Seller grants Buyer the most
Y NOTARY

               formal and effective letter of payment.-----------------------------------------------------------------------

               ---Four [4]: Buyer will immediately take possession of the real property, from the date of this deed

               and without additional requirements. Seller is obligated before Buyer to warranty of title and right

               of possession, according to law. Seller states that she assigns, sells and transfer one hundred

               percent (100%) of the property to Buyer.--------------------------------------------------------------------

               ---Five [5]: Seller will pay the taxes owed on the real property until today; if any, and from today

               on, it will be Buyer´s responsibility.--------------------------------------------------------------------------

               ---Six [6]: Buyer understands that within the next thirty (30) days he must comply with a Request

               for Exoneration and file it at the Municipal Revenue Collection Center (CRIM) in the municipality

               where the real property is located, according to Law Number Eighty-Three (83) of August thirty

               (30) nineteen ninety-one (1991), as amended. If the request is not filed, buyer will not have the

               right to enjoy the exoneration and at the time that buyer sells the real property, the CRIM will

               collect the taxes owed from the date of this deed.----------------------------------------------------------

               -----------------------Seven [7]: The appearing parties, their successors, assigns of any title, agree

               to execute and subscribe all types of public and/or private documents that may be necessary and

               required to clarify, correct, amend or add so that the title transferred herein is recorded at the

               Registry of the Property, on behalf of Buyer, including any explanatory or rectification act.--------

               ---Eight [8]: Regarding the system of access control to the Property if any, as well as the

               maintenance fees with the Association of Residents, if any, BUYER is advised regarding his

               obligation of notifying the Association of Residents about the fact of this acquisition not later than

               thirty (30) days following the date of acquisition and its obligation to observe the precepts and the

               regulation adopted by the association of residents according to the aforementioned.-----------------


                        I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
                        translation, to the best of my abilities, of the document in Spanish which I have seen.
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               ---Nine [9]: Buyer states that at the request of Seller he has examined and carefully inspected the

                 real property that is the object of this purchase and sale; that he knows the status of the same and

                 that he buys and accepts the real property as is, and that therefore, Seller has no obligation of

                 repairs or any improvements on the same as a condition for the purchase and sale.----------------

                  ------------------------------------------------------------------------------------------------------------------
Initials not
legible          -----------------------------ACCEPTANCE AND LEGAL ADVICES----------------------------------
Initials not
legible          ---The parties are advised, especially Buyer, that if in the residence there enclaves in the site that

                 is the object of this purchase and sale, having been constructed prior to the year nineteen
Seal
REYMERIK
APONTE           thousand seventy-eight (1978), the Law for the Reduction of Risks Provoked by Lead Base Paint
LOPEZ
ATTORNEY
NOTARY           in Residential Dwellings, also known as Residential Lead Base Paint Hazard Act, 42 USC &

               4851et seq. Said law imposes on seller and its agent or realtor, if there is one, and prior to the

               Buyers being committed under a contract, the obligation of: disclosing knowledge regarding the

               presence of lead base paint or any other known danger in the property associated to it; providing a

               period of ten (10) days for Buyer to inspect the property to said effect; must provide an informative

               brochure prepared by the Environmental Protection Agency. It is necessary that an attachment be

               made to the purchase and sale contract with the parties´ signatures confirming compliance with

               the above stated requisites. Said contract and its attachment must be held for a period of three (3)

               years by Seller and its agent. Non-compliance with the requisites of this Law exposes Seller to

               civilly respond for the damages. Knowing the content of the present advice both parties state they

               agree and continue with the present purchase and sale.----------------------------------------------------

               ---------------------------------------------------------------------------------------------------------------------

               ----------------------------------------------GENERAL ADVICES-------------------------------------------

               ---I, the Notary, ATTEST having made the necessary and pertinent legal advices in this case to the

               appearing parties, and I state that particularly I made the following:------------------------------------

               --- [A] I have advised the appearing parties, especially Buyer, of his right to examine the Registry

               of the Property, and to obtain a title search regarding the charges and liens or other land laws on

               the property that is the object of this purchase and sale; that in this case the authorizing Notary nor

               the appearing parties have personally examined the Registry, but, a title search was obtained, that

               was prepared by a title search investigator and that the fact of having obtained said title search was

               no guarantee of non-existence of liens, because they could have been constituted after the

               examination at the registry or on the date that the title search would have been made.---------------


                        I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
                        translation, to the best of my abilities, of the document in Spanish which I have seen.
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               ---The referred title search was used to prepare this deed, and the undersigned Notary does not

                assume responsibility for the correction, exactness and or integrity of said search.-------------------

                ---The parties accept the title search that was prepared for this transaction.---------------------------

                ----The appearing parties relieve the undersigned Notary from all responsibility for errors and/or
Initials not
legible
                omissions in the referred title search; and/or for changes in the property or its charges or liens that
Initials not
legible
                could occur between the date of the title search and the date when this deed is presented at the

Seal
                Registry for recording.-----------------------------------------------------------------------------------------
REYMERIK
APONTE
LOPEZ
                ---- [B] I have advised the following:-----------------------------------------------------------------------
ATTORNE
Y NOTARY
                -----The importance of presenting this public deed at the Registry of the Property, indicating, also

               the cost of the recording, as well as the duty to process the corresponding transfer before the

               Department of the Treasury and the Center for Municipal Revenue Collection Center [CRIM].----

               ---The responsibilities and consequences that could result by not presenting this public deed.------

               ---The duties and fiscal consequences of this act.----------------------------------------------------------

               ---Of the right that the appearing parties have to require the presences of witnesses.-----------------

               ---If this property is found to be in a flood zone, Buyers are obligated to comply with the

               requirements and provisions of the Regulations Regarding Zones Susceptible to Flooding for any

               construction, use or development.----------------------------------------------------------------------------

               ---Of the right to read the present deed by themselves, which they did.---------------------------------

               ---The parties state having understood all legal warnings and their possible legal consequences of

               everything explained to them.---------------------------------------------------------------------------------

               ---------------------------------------------------------------------------------------------------------------------

               ---------------------------------------READING AND ACCEPTANCE-------------------------------------

               ---The parties accept this deed in all of its parts by finding that the same has been written according

               to their instructions. The parties, after having read the content of this deed, ratify it and confirm

               the expressions contained herein, and consequently, each one of the appearing parties place their

               initials on all and each one of the pages and sign the original at the end of this deed, before me,

               the Notary. All of which, under my signature, seal, stamp and initials, and according to Law, I,

               the Notary, ATTEST.-------------------------------------------------------------------------------------------

                        Initials not legible
                        Initials not legible
                        Initials not legible       Initials not legible

                                                                              Seal
                                                                              REYMERIK APONTE LOPEZ
                                                                              Logo – initials not legible


                        I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
                        translation, to the best of my abilities, of the document in Spanish which I have seen.
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                                                                                     ATTORNEY NOTARY
                   Logo                         Stamp                      Logo                       Stamp
                   Puerto Rico                  5120                       Puerto Rico                5115
                   Department of the Treasury   01/17/2018                 Department of the Treasury 01/17/2018
                   18-A4886121                  $16.00                                                $1.00

                                                Internal Revenue Stamp     Stamp                      Internal Revenue Stamp
                                                00070-2018-0117-41485015   18-A4886124                00070-2018-0117-41485044




Initials not legible

Initials not legible



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REYMERIK APONTE
LOPEZ
ATTORNEY NOTARY




                             I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
                             translation, to the best of my abilities, of the document in Spanish which I have seen.
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     Exhibit 2 (Title Study) in the English
   language, supplementing Exhibit 3 (Title
         Study) from the Complaint.
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